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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION


IN RE:                                               CASE NO.: 23-16706-PDR
                                                     CHAPTER 13
RALPH LEVI SANDERS, JR.

                  Debtor.
____________________________________/

                      MOTION TO DISMISS CASE WITH
            TWO-YEAR PREJUDICE PERIOD OR IN THE ALTERNATIVE
         MOTION FOR PROSPECTIVE RELIEF FROM THE AUTOMATIC STAY

         The Bank of New York Mellon, f/k/a The Bank of New York as successor in interest to

JPMorgan Chase Bank, N.A. as Trustee for Bear Stearns Asset Backed Securities Trust 2006-SD2,

Asset-Backed Certificates, Series 2006-SD2 (“Secured Creditor”), pursuant to 11 U.S.C.

§§1307(C), 362(c), 362(d) and 105(a), moves to dismiss this case and impose a prejudice period

of two years or, in the alternative, prospective relief from the automatic stay for the following

reasons.

                                        BACKGROUND

         1.    The Debtor inappropriately seeks to avail himself of the bankruptcy protections and

relief provided by Chapter 13 of the Bankruptcy Code. The Debtor is in active Chapter 13 case,

which was filed on June 20, 2022, and identified by case number 22-14766-SMG (“Active Case”).

The Active Case involves the same property and debt owed to Secured Creditor. Additionally, the

instant case was filed on August 23, 2023, which was only 8 days before the judicial sale of the

property at issue. Incidentally, Secured Creditor obtained relief from the automatic stay in the

Active Case after the Debtor intended to mediate with and finally decided to treat Secured Creditor

outside of the Plan. The stay relief order remained in place despite the Debtor’s unsuccessful
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attempt at appealing the order and Secured Creditor proceeded in due course with its foreclosure

and judicial sale of the Property. The instant case was filed solely for the purpose of delaying the

sale of the Property.

       2.      Furthermore, the instant case is the sixth case that prevented the sale of the

Property. The timing of the Debtor’s prior bankruptcy filings illustrates a scheme by the Debtor

to hinder, delay and defraud the Secured Creditor. The state court foreclosure record and prior

bankruptcy case record establish the same. Succinctly, when considering the totality of the

circumstances, the instant bankruptcy proceeding should be dismissed because it was filed in bad

faith. A two-year prejudice period should also be imposed, pursuant to 11 U.S.C. §105(a), due to

the Debtor’s lack of deference for the stay relief order and the attempt to circumvent the appellate

process by the filing of the instant case. Additionally, cause exists for relief from the automatic

stay and the Debtor’s pattern of multiple bankruptcy case filings evincing a scheme to delay, hinder

or defraud Secured Creditor that warrants prospective relief from the automatic stay for a two-year

period as described in 11 U.S.C. §362(d)(4)(B).

                                  FACTUAL BACKGROUND

       3.      The Debtor filed a voluntary petition for relief under Chapter 13 of the Bankruptcy

Code on August 23, 2023, commencing the instant proceeding. This is the Debtor’s sixth

bankruptcy case filing since entry of the final judgment in the pending foreclosure case.

       4.      On April 11, 2005, the Debtor executed a promissory note in favor of Wells Fargo

Bank, N.A. and a mortgage securing payment of the promissory note regarding the following

property:


LOT 22, IN BLOCK 4, OF PLANTATION PARK 10TH ADDITION, ACCORDING TO
THE PLAT THEREOF, AS RECORDED IN PLAT BOOK 55, AT PAGE 21, OF THE
PUBLIC RECORDS OF BROWARD COUNTY, FLORIDA.



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AKA 561 SW 60 Ave., Plantation, FL 33317 (“Property”).

        5.      On October 29, 2013, the Broward County Circuit Court (“State Court”) entered a

Final Judgment in the amount of $358,966.08 in favor of Movant and against the Debtor with

respect to the Property. A copy of the Final Judgment is attached hereto as Exhibit “A.”

        6.      In total, the Debtor has filed six bankruptcy cases since 2014, inclusive of the

instant case:

        Clerk's Evidence of Repeat Filings for debtor SANDERS, RALPH LEVI, JR. Case

        Number 22-14766 , Chapter 13 filed in Florida Southern on 06/20/2022 is Pending;

        Case Number 19-24331 , Chapter 13 filed in Florida Southern on 10/25/2019 was

        Closed on 11/24/2021 was Dismissed on 09/15/2021; Case Number 18-12969 , Chapter

        13 filed in Florida Southern on 03/14/2018 was Closed on 08/27/2019 was Dismissed

        on 05/16/2019; Case Number 17-19141 , Chapter 13 filed in Florida Southern on

        07/20/2017 was Closed on 03/26/2018 was Dismissed on 11/30/2017. (Clerk’s Evidence

        of Repeat Filings, Docket, August 24, 2023).1

         7.     After entry of the Final Judgment, the State Court set the sale of the Property for

February 6, 2014. The Debtor filed his first bankruptcy case on January 29, 2014, Case Number

14-12147-JKO (“First Case”). The First Case was voluntarily dismissed on January 30, 2017.

         8.     After dismissal of the First Case, the State Court reset the sale of the Property to

July 25, 2017. The Debtor filed his second bankruptcy case on July 20, 2017, 17-19141-RBR

(“Second Case”). The Second Case was dismissed on November 30, 2017.




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 The Debtor also filed case number 14-12147-JKO on January 29, 2014. The case was dismissed on January 30,
2017.


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        9.     After dismissal of the Second Case, the State Court reset the sale of the Property to

March 20, 2018. The Debtor filed his third bankruptcy case on March 14, 2018, 18-12969-JKO

(“Third Case”). The Third Case was dismissed on May 16, 2019.

        10.     After dismissal of the Third Case, the State Court reset the sale of the Property to

October 29, 2019. The Debtor filed his fourth bankruptcy case on October 25, 2019, 19-24331-

PDR (“Fourth Case”). The Fourth Case was dismissed on September 15, 2021.

        11.    After dismissal of the Fourth Case, the state court counsel for Movant filed an

Amended Motion to Reschedule the sale on June 3, 2022. The Debtor filed his fifth bankruptcy

case on June 20, 2022, 22-14766-SMG, which is the Active Case. An order granting Movant relief

from the automatic stay was entered on December 13, 2022.

        12.    After entry of the relief order, the state court reset the sale of the Property to August

31, 2023. The Debtor filed the instant bankruptcy case, which is his sixth bankruptcy filing since

entry of the Final Judgment.

        13.    In the Active Case, the Debtor’s initial Plan and First Amended Plan first sought to

mediate with Secured Creditor under the Court’s Mortgage Modification Mediation Program.

        14.    The Debtor then amended the Plan to treat Secured Creditor directly outside of the

bankruptcy. The Third Amended Plan providing for direct treatment of Secured Creditor’s claim

on the Property was confirmed on December 12, 2022.

        15.    The Order Confirming Plan provided relief from the automatic stay as to Secured

Creditor due to the Debtor’s treatment. In addition, Creditor obtained relief from the automatic

stay by separate Court order on December 13, 2022.

        16.    On December 27, 2022, the Debtor filed a Notice of Appeal of the relief order to

the Southern District of Florida District Court.




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           17.   On January 13, 2023, the Court entered its Order Dismissing Bankruptcy Appeal.

           18.   As stated above, the State Court reset the sale of the Property to August 31, 2023.

           19.   The instant case again prevented the sale of the Property.

           20.   The Debtor has failed to file Schedules or a Plan as of the date of this Motion. Due

to the timing of the filing of the instant case, a reasonable inference can be made that the Debtor

only filed the instant case to force the Clerk of the State Court to stop the sale of the Property.

           21.   The Active Case and the instant case involve the same debt and the Property subject

to sale.

                                            ARGUMENT

I. The Instant Case Violates the Single Estate Rule

           22.   The facts of the instant case are akin to the facts in In re Gilles, 641 B.R. 255

(Bankr. S.D. Fla. 2022).

           23.   In In re Gilles, the debtor filed a Chapter 13 petition, which ultimately resulted in

the confirmation of her Plan. Id. at 257.

           24.   The debtor became delinquent in the Plan payments and a dismissal of the initial

case was forthcoming. Id.

           25.   Prior to dismissal of the case, however, the debtor filed another Chapter 13 petition

and sought to extend the stay. Id.

           26.   The Court reiterated the principle of the single estate rule, which prohibits two

simultaneous bankruptcy cases, if the result is that the same property become assets of the two

cases at the same time. Id. at 259 (“To refine the application of this principle, bankruptcy courts

in this circuit apply the "single estate rule" for the proposition that two cases concerning the same

debtor cannot be open simultaneously if they result in the same property becoming an asset of both




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bankruptcy estates at the same time. “); citing, In re Sanchez-Dobazo, 343 B.R. 742, 744-46

(Bankr. S.D. Fla. 2006).

       27.     The Court ultimately found that the second case violated the single estate rule,

although it did not outright indicate a bad faith filing because the subsequent case was filed before

dismissal of the initial case. Nevertheless, the case was primed to be dismissed. Id. at 260.

       28.     While the facts of the instant case are indeed violative of the single estate rule

because it involves the same Property in both estates and should be dismissed on that basis alone,

they are distinguishable in one specific way; namely, the Debtor only filed the instant case to stop

the foreclosure of the Property.

       29.     As discussed below, the totality of the circumstances warrants a dismissal of the

instant case not only because it violates the single estate rule but also due to bad faith.

II.   The Instant Case Should be Dismissed for Bad Faith

       30.     It is well settled in the Eleventh Circuit that a debtor's good faith in the filing of a

 petition is determined on a case-by-case basis, considering the totality of the circumstances. In re

 Kitchens, 702 F.2d 885, 888 (11th Cir. 1983); Gen. Lending Corp. v. Cancio, 578 Fed. Appx. 832,

 834-835 (11th Cir. 2014).

       31.     The Eleventh Circuit prescribed the following non-exhaustive list of factors for

 consideration of bad faith in In re Kitchens: (1) the amount of the debtors income from all sources;

 (2) the living expenses of the debtor and his dependents; (3) the amount of attorney’s fees; (4) the

 probable or expected duration of the debtor’s Chapter 13 plan; (5) the motivations of the debtor

 and his sincerity in seeking relief under the provisions of the Chapter 13; (6) the debtor’s degree

 of effort; (7) the debtor’s ability to earn and the likelihood of fluctuation in his earnings; (8)

 special circumstances such as inordinate medical expense; (9) the frequency with which the




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debtor has sought relief under the Bankruptcy Reform Act and its predecessors; (10) the

circumstances under which the debtor has contracted his debts and his demonstrated bona fides,

or lack of same, in dealings with his creditors; and (11) the burden which the plan’s administration

would place on the trustee. In re Kitchens, 702 F.2d 885 (11th Cir. 1983); 11 U.S.C. §1325(a)(3).

       32.     Here, the Debtor’s timing in filing the instant petition, the prior bankruptcy filings

and the failure to file Schedules, or a Plan reveal bad faith as well as motivation not to effectively

reorganize finances but to delay, hinder and defraud Secured Creditor.

       33.      The Debtor has shown an inability to pay the amount due to Secured Creditor since

entry of the Final Judgment almost 10 years from the date of filing of the instant case.

       34.     In addition, it is apparent based on the prior dismissals and actions taken in the prior

cases that the Debtor’s income is insufficient to support any ability to pay the debt owed to Secured

Creditor, notwithstanding the instant case being subject to dismissal for the reasons stated above.

       35.     Bad faith is also shown by the dismissal of the appeal in the Active Case and the

Debtor’s seeming attempt at an end-run around the appellate process by the filing of the instant

case after an unsuccessful appeal of the relief order in the Active Case.

       36.     With respect to timing, the instant case, similar to the 5 previous cases, was filed

closed in proximity to the sale of the Property, which this Court authorized Secured Creditor to

complete. The Debtor filed the instant case to confuse the proceedings in State Court, ostensibly,

knowing that he had no intention of moving forward in good faith.

       37.     Also, the Final Judgment was entered in 2013 and but for certain disbursements

from the Chapter 13 Trustee, the default has not been cured.

       38.     Succinctly, the record reflects this case is proceeding in bad faith and must be

dismissed.




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       39.     Due to the amount of prior filings, as well as the timing of the prior filings, Secured

Creditor respectfully requests that this Court dismiss the case and find cause for dismissal with a

prejudice period of two years per the Court’s inherent power under 11 U.S.C. §105 (a).

III. Secured Creditor is also Entitled to Relief under 11 U.S.C. §362(d)(4)

       40.     In the alternative, Secured Creditor is entitled to prospective relief from the

automatic stay.

       41.     11 U.S.C. §362(d)(4)(B) states:

         (d) On request of a party in interest and after notice and a hearing, the court
         shall grant relief from the stay provided under subsection (a) of this section,
         such as by terminating, annulling, modifying, or conditioning such stay

         (4) with respect to a stay of an act against real property under subsection (a),
         by a creditor whose claim is secured by an interest in such real property, if
         the court finds that the filing of the petition was part of a scheme to delay,
         hinder, or defraud creditors that involved either—

         (A) transfer of all or part ownership of, or other interest in, such real
         property without the consent of the secured creditor or court approval; or

         (B) multiple bankruptcy filings affecting such real property.

       42.     As indicated by each of the multiple bankruptcy filings ending in dismissal or relief

being granted, the filings have been filed in bad faith.

       43.     The instant proceeding represents the sixth bankruptcy filing by this Debtor. Each

of the past filings were strategically timed to delay and hinder Secured Creditor in exercising its

state court rights against the Property.

       44.     The Debtor attempts to invoke the automatic stay with the same strategy to again

stay the foreclosure and further prevent Secured Creditor from pursuing its remedies in state court.

These bankruptcy filings are improper and are exactly the type of filings that Congress intended

to prevent when it enacted 11 U.S.C. 362 §362(d)(4).




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        45.       Furthermore, Secured Creditor was rightfully operating under the stay relief order

entered in the Active Case when the Debtor filed the instant case. Secured Creditor is not receiving

payments to protect against the erosion of its security interest in the Property and if it is not

permitted to enforce its security interest in the Property, it will suffer irreparable injury, loss, and

damage.

        46.       When considering the record of active litigant participation in the State Court and

bankruptcy court forums, the timing of those actions, including the pattern of multiple bankruptcy

filings, it is clear that the Debtor has engaged in a scheme to delay, hinder or defraud Secured

Creditor and prevent it from proceeding in state court against the Property.

        47.       Accordingly, Cause exists for stay relief and a two-year period of prospective relief

is appropriate.

    WHEREFORE, Secured Creditor respectfully requests the Court enter an order:

                  a.      dismissing the instant case with a prejudice period of two (2) years and

preventing any future filing from affecting the sale of the Property;

                  b.      terminating the automatic stay as to the Property for a period of two years,

pursuant to 11 U.S.C. §362(d)(4)(B);

                  c.      permitting Movant to take any and all steps necessary to exercise any

and all rights it may have in the Property described herein;

                  d.      allowing Movant to gain possession of the Property;

                  e.      waiving the 14-day stay, pursuant to Rule 4001(a)(3); and

                  f.      granting such other relief that the Court may deem just and proper.


                                                    /s/Gavin N. Stewart
                                                    Gavin N. Stewart, Esquire
                                                    Florida Bar Number 52899



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                                                  Counsel for Secured Creditor

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served by CM/ECF notice

and first class mail this 1st day of September 2023.

                                                  /s/ Gavin N. Stewart
                                                  Gavin N. Stewart, Esquire
VIA FIRST CLASS MAIL
Ralph Levi Sanders, Jr.
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VIA CM/ECF NOTICE
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